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            Exhibit 
Page                                    of     4                 Pages
 OFFTNS,E: CLASSIFICATION
                                                                                                             1:23-cv-01184-CRL-JEH # 318-21
                                                                                                                          1NC. (';(}DE:
                                                                                                                                                                             Filed: 04/22/24                Page 2 of 5                               REL. CASE NQ.'S
                                                                                                                                                                                                                                                                                   -01          88
                                                                                                                          0112
                                                                                   NAME AN'O/OA ALIAS                                                                                                                                                                          S.S., D.L. NO., E:.iC.
                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                  i,
                                                                                  OOUGl!.AS, _Wi-l Ham,E.

                                                                                  COOPER, Conni·e L. ·.                                                3033 ;W • .::Gar.den.                                        I
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                                                                                                     ··•·'   ....   ,                                  I   ,_-   - .              ·•   C . : .   ·;   .J;
                                                                            :. ,ROB-I NS-ON -. James (nmi )                               ,,,. __ ·,   3033 W._Garden ~ ·.




 "TYPE PROP"E.FHY                                                                                                                                                                                                                              OTHER OESC. DATA




 L•e                                                                                                                                                                     •   COA~NER
                                                                         l t·,.                                                                                         . . I.   -.                                                               -   • I
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     CONJINUAJ10N::.: [:] :. :·. Nt,_RfMTJV_E; ..                                                                                                                                                                ,. .                                                     r,
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                                                  -•   l   .-   ..   -     •'      ;'\.•.'   .   •            -


       In liegai:ds to. "".this ;i:nvest-i gat ion; thts investigator.· was reque.sted to. go:.. to ::-3033. w.· .Garden_ by .Sgt •. Gi 1-1 espi:e :fo . :.. >.- .....
re ards to ,a ~double. homi.cide. -.. T:his officer. arrived .at the scene t· 16 4                                                    ·
met_ ·by:~il-li.am D.oug1as. ,He made a spontaneous remark'··to.me, ."Those ar·e my:-,step~kids 11 • _ .This of.f.ic~r. then:went,onttto enter_,.
the residence. at- ·303 -_w; ·Garden which.is a-brick three bedroom Jramed · ou · · i · n                                                         .·
front: ;door .whi,ch· 1:eads,::to_ the Jiving ,room-.of the residence,. :this officer was, met by Sgt. VoegeJ·e--and !Of~icer ·Schmitt;
S t,. Voe ele, ave,:thi:s,·off,icer.,a. briefin ·of the :;nfor:mation
that. Offi.ceri' e-er.kins had"_been the:tir.st .officer on the scene-and was .outside the residence . ·1at: this ·.time_.-_ H_e '.stated ·that
the bod .of, -a l .. ear· old bl ack--.fema le and the bod :of. ·.t
the briefing by,,.:Sgt. ,Voegele, Juvenile. Offi.cer.s Dearborn, .Ulr:ich and -Sgt. Funcannon arrived at the scene.: .T.hey. :remai,ned·at.
the scene ·for,·a ·-short- time and were·.rec 1              t
further •jnformation in regards to this.

     ;As ~this :of,f .i cer first enter.ed,~the:..1 i.vi ng .room of the ;house,,_!· ·observed a .:cof.feecta.bl e. sett i ng;:a'gainst the feast •wa l1
of the I ivin . room. , ·obs rv             a                           ·                                                   ·
observed i111nediately to the north end of the cof..fee.table:against,the·,east wall,.a .. portablei'televi"sion:set.' ·.1ihi.s•off,icer.
then went throu ha do
thententer.eq a.doorway.           leads fr~ the hallway to the,riortheast bedroom. Irrrnedia.tel-y upon entering,:- this ioffi_cer;,
observed . h · bo · f                 a        ·-                          · ·                ·
clad in a pair of blue jean pants, a yel.low. t-shirt, :and.the feet were bare.: .The victim!s:head was partiaHy. lay,ing on:
                                                                                                                                                                                                                                                                                                                      1.D. NO,




                                                                                        S~GlVATURE                                                                                                                                                                        i::ii::T~NSl()N


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                                                                                                                                                                                                                                                                        Llill,ITY SHC£l
                                                                                                                                                                                                                                                                                       llil

                                                                                                                                                                                                                 PEORIA_SAVORY 54
Page                   ot                 f-'ages NARRATIVE:
            :·. · Lf: .
              2            1:23-cv-01184-CRL-JEH # 318-21 Filed: 04/22/24 Page 3 of 5   _·_ D Flash M·es·;;~e
k--:=--:=~~='"==-=~~~--=-=--==-=~-:=--:=-=c---=-r--------------,;__-------------------1
: ATTACH PROPERTY TAG                           HERE          I                                                                                                                  -- □ LEADS/NCIC Inquiry
                                                                                                                               •· , · ·                                          _ _ 0 LEADS/NCIC Entry." · ,__·_·----i
                                                              I                                                                                                                           O License Inquiry
                                u on further examli nation b
                                                 this officer ·-this officer observed that- the ;vi ctim!"s       □ l~ter-Dept. Requests,
1 right hand had a small scratch be ween the thumb and the index finger.       This officer also observe          O □therCommunication
  that the victim had a 1ar e lacer ti on that be an at the. base -of . the 1ef t ear and ran across the          D Cancellation Made
l left cheek stopping at the left eve.     This officer also observed a laceration that ran from inside the victim's left eye
1and across the brid e of the noser This officer also observed what a eared to,:oe, several, stab ·wounds to the chest ar·ea
1and a large slice wound to the abpomen. This officer observed that the victim's intestines were protruding from the
1 abdomen wound.    This officer also1 observed that the victim's bod was la in between a bed and a dresser. The head of the
1 bed was against the north wall ofl the bedroom, the foot of the bed facing the south wall. The back of the dresser was
1 a ainst the south wall and with o e end of the dresser a ainst the east wall of the bedroom.          This officer observed that
1 the·bed appeared to be unmade and 1 covered with a red bedspread which appeared to have a considerable amount of blood on
1 it.·- The bed also had two b.lue bet! sheets which also were s attered with blood. This officer observed that the bed ha one
1 pi 1 low laying on top of the bed at the northeast- corner of the bed.    The other pillow was standing on end on the floor and
1 a ainst the northeast corner oft e bed.      Both illows were covered with blue illowcases.
I                                                             I
1____ 1.his..a.f.fi.cec...t.hen.Db.sec..YecLthe bod of the black female victim. She was la in on her back face up with her                         a
 pointing north and her feet south. The victim's body was covered with blood and her left knee was bent and resting against
 a chest of drawers located in the northwest corner of the bedroom. This officer observed that t e victim's bod was
 clad in a pink robe, a yellow gown that was pulled up to the waist, and a pair of white panties. The victim 1 s right leg
 was extended and the foot was restin under two stuffed to animals that were laying against the north wall of th b                                       o
 The victim'.s arms .were.bent .at.,the elbows and extended over·her. head;- -The.victim~s .hair. had·been rolled.and several: gr-een
 hair. rol.ler,s:and a red.:headscarf. was la in, irmiediatel south,of -the-vi-ctim 1·s· ead :·<Th' 2of:f.i           . .          .    .            f     · .
 toy animal:s in a corner, against tlie·.southwest corn~r of, the.bedroom.- :Th'i.s-of.fi-cer,obser_ved that the blood on the,vi-ctirh's---
 ri ht I e a· eared to· have been smeared or. wi ed· with· somethi n • - .The victim;'a · a          ·      ·a         a , ·' ~                                 ·
 chest ar.ea :and a·1lar.ge lacera"tion .to ,the sfomach;'.' The::.victim(·s. intestines were pr.otruding ·from the:.stomacti wound. ·--This ...
 officer.observed that the·victim-had.several lacerations to both.hand .. T · o fi                         · • b     · ·     ·               ·          ·    ··
 victimwas.wear.ing appeared'to have~.a.cut in .. them~'.;;:This.of.ficer also observed:a:small spot:.of blood in the:,mi'dd1'e-6f the-.,'..
 ceilin .ofr.the.bedroom.· This off.icer. also· observed that.·th dres r- a ainst .t                     ·       · ·     ·          .
 mi r.rors~ .·This. officer.::observed that :the mkror:ron the .west side ,of tthe dresser.~ had··smal 1 :"lsp·atterings·fof .bl_ood· on ,it.•r.
 This off,icer. also observed that .thestele hone·:was la ·n          n t     f    ·              ·                        ·          ·                ·
 that the telephone was on the hook and appeared to have blood smeared on it.                        .:•..... t.       _Y1 :-: '."· ;   , :.. ,,._


         This of.f i cer theri ·<2bser.ved on- top :of· the-chest- of ::dr.awer:s ;located in the .northwest corner of the :·bedroom,, a '...·dfgi ta l
    clock :radio that·.was turned.on. and~.t         ol      o. o ·.                          L.1..L.!.l.l.·a.·!J:..1-¥-.!.lilll::.l":I.L,__;_U.R::._-1...J:1.UJc.U.o-'---.1:1.1.~'...!.UU..,.,"---Uµ...JU-L---W:..ic...-'-----,

    chest·.of drawer.·s was-several· ·ar:ticles of, _clothing· and·a·pair of·small brown
                                                                                                                                                       ')   .
         During this'.offi_c:;er.'s examinati.on.of :-the bedroom.and the bodies of the two victims-, the Cor:oner, Mr·. Buzbee,arr.i.ved.,. -
    atthe·scen·eand as ivenabriefing-bytbis,officer:as·tot· ·                         ·         ·      ·            · '· · ·   ·
    Oetect.i.ve:Byck ~lso:came to the.-scelie· and assisted this officer: in .. the ·investi.g'ation. -·; ·· -·~.·-

            This officer then went to the kitchen .ot therresidence where I observed laying in front of the.kitchen counter, a box
                                                                                           I   ••




                                                                                                                                                                PEORIA_SAVORY 55
Page              3          of                     Pages                                                                                                                                                                                                             77-01588
                                        4                                       1:23-cv-01184-CRL-JEH # 318-21                                                        Filed: 04/22/24                     Page 4 of 5
                                                                                                                                                                                                  INCIDENT COOE ,CHANGE                        AEL CASE NO.'S

                                                                                                                                                                                                  FA:OM                 TO

                                                               NAME ANO /OR ALIAS                                                                                                                                  PHONEfSJ                                             SS., 0.1,... NO .• ETC.             REF


                                                                                                                                                                                                                             .. ....
                                                                                                                                                                                                                 RES.

                                                              DOUGLAS



SEC.A:        A~Arre5,le-d    p,-   8-:-"'"Bus.ineu, F.irm,.A~ency                                                                                                                              ..-v-Victim
                                                                                                                                                                                               . ~,  •      .·
                                                                                                                                                                                                              • · I w~Witness
                                                                                                                                                                                                                    ., -- • ._ I "'-




                                                                                                                                                                                                                                             0,,.0-0tt Outy Police..
                                                                                                                                                                                                                              IOE:NTIFIABLE Ptt','SICAL CHARACTERISTICS                                     Ot.lS




                                                                                                                                                                                                                                                ....... ·.
                                                                                                                                                                                                                                       OTHER DESC, OAT A .



       r-'!:.'.


                                                                                                                                                               I
                                                                                                                                                               I
                                                                                                                                                                   CO"<JNER
                                                                                                                                                                                                                                                 '\,:-. -.                            I -



   C\)f(f! N~f-.'.f_lON _, □
       SHEET ONLY
wrapped in cellophane laying next to it. This officer also observed a small can of Crisco Shortening                                                                                                                                                                                                  the
base· of. the cracker-· box.- This of f.i cer a 1so observed an 0.1 i a be·e . can 1a in under a kHch


      This officer then went                                                                       bedroom located at the northwest corner of the residence, and upon this officer's
  bservati on •                                                                                    t     b                                                                                                                                              I       •                 •               •




 requested that the lab.personnel coll~ct all.possible_physicaJ: e~idence·at.th~ scene.                                                                                                                             See a11 · 1ab; supp 1ement~r.y ·reports·



Chittick responded and this officer requested that he take pictures of the entire interior of the house as well as the



 the north wall along side a chair.                                                       This officer observed that this one corner was broken off at the base of the stand.
                                                                                         na iJ pa Ji~ sh bnt:a...ic:-J-CS.¥--1-ui.--es
                                                                                    A !PRINT, TYP-Ej             1,D, NO,
                                                                                                                                       ..Lt.b-=--.J..Lc::1~-U-l--l,.--UIC-..:;..l.4t-Jlj,.l..--l--+1---',..:,l-,---l.J..1-1.-rJ--1..=:.......-',~;.t;;:.l~:u..--,;;1....-1,;.1.>1.1-1.,M..--r--.,...,,.-------1
                                                                                                                                    IPFHNT,         R        TYPf.l                                                                                                                                     l.0. NO
                                                                                                             I
                                                                                                             I                     CANNON
                                                                 SIGNAlUFI[                                                      SIGJ\iAJURE                                                                                                                        EiCTEN'510N

                                                                                                                                                                                                                                                                [yJ           ~
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                                                                                                                                                                                                                   PEORIA_SAVORY 56
 Page                  of                       I                                                                                                                     FIELD COMMUNICATIONS                        I HAS.
              4              ·4.        Pages       NARRATIVE:                                                 -                                              i          O Flash Message                          'I
                   1:23-cv-01184-CRL-JEH # 318-21 Filed: 04/22/24 Page 5 of 5
L--~~----~=-==,-1,,===~-,---------------------------------.:--c,---i-_-_---~- □ LEADS/NC IC Inquiry                                                                                                               i - :_      ____,




 ;_A_-T_T_A_C_H
i+'                                  __H_E_R_E__J.1'- - - - - - - - - - - ' - - - - - - - - - - . : . : · · c _ ·~ ~ - - - - ~ ~ - - - - - - - j ___ 0
              __P_R_O_P_E_R_T_Y__T_A_G                                                                                                                                      LEADS/NCIC Entry . :_ _____,

 1                                                            I                                                                                                   _ _ _ D License Inquiry                         "-:_ _
 1 against the west wall of the livilnq room with a brown·:.coffee..tabJe·settina in front:of· it· :rhic     D1nte,-Dep1.Requests . . _,_ ____,
11 officer observed under the coffe1 table what appeared to be a perfume bottle. This officer
11 observed a white ash tray on too ,of the coffee table that had several cinarette butt< in it_
                                                                                                         ___ Oo1he,communication
                                                                                                             Oc,ncellationMade      !
                                                                                                                                                                                                                  i - :_      ____,
                                                                                                                                                                                                                                      '
 1 Also laying on top of the coffee 1table was an envelope with the words "Final Notice" in typewritten letters on it.
 I                                                            I
"      I his otticer then went to th; bedroom located at the southeast corner of the residence. Upon this officer's entrance
 : into the bedroom, this officer oqserved a smal I arav cat that was locked in the bedroom. This n<'firQr ;aJ•n nh,Qr ·--'
 1 several up-turned cnairs, articles of clothing that were laying on the floor and several child's toys on the floor. On
 I this officer's observation, nothi1ng appeared to be disturbed that would relate to this ;--•,,ti-,ti--
 I                                                            I
1     This officer then went to the bathroom of the residence and
I pieces of hair ,n the sink and wHat appeared to be blood on the light switch covering. The hairs and the light switch
1 covering were collected by the l~b. This officer could find no further ohvsical evi" -- in,.,_ '-,t·
                                                              I
          This officer was then Jo.f.oane<l by Coroner Buzbee that Parks Funeral Home had been notified and=--                ·• tn
      both victims' bodies. Prior to the victims' bodies being moved from the residence, this officer requested that the lab
      draw an outline with chalk of the oosition of both bodies. At this time- Q-lo"QQ• fr=, 0 - - ' - • • • · - , , , , u___   .,; .., , ,..,
      removed the bodies from the scene and transported them to St. Francis Hospital for the purpose of x-rays. Detective Buck
      accompanied the bodies to the hospital •
                                                      ... .
           This officer then assi'sted·.. Off'i.cer Fier-s. who·had arrived ·earliQ, ;at.thQ--                                  :·.. in•-'-;--·
      of the victims' bodies in relationship to the walls of the bedroom. See the report of Offic;r
      measurements.
                                             ~·- ' -:                                                  : '                                    ''.
           During this officer's investiaation. this officer was unabl"' •-.1--,•a ":...-·•sihJ.,.                                                      -               ,-, ·.:· ,;,;,;      .., ...
      Officer Fiers then left the scene and returned to the police station and upon· arrival at the police station, this officer
      was instruc.te"d bv. Cao.tain Mar.teness= to talk to :bath·:the,mothPr ,..._.,: ,_t-h~ uir-t-.i-- ........ ...1 _i---_ .. ,.· L .. ,·-L:__ ..J t----1 -.... ..... r; --·-     ,-1-1- ....·..;...•   •   •


      retur,n· to the scene .unti 1. these .investigators had:.finished thei:r ,fol low--up .. i.nvestigation. :rhe ex-husband was ,inforined·of
      this by·this officer; at the·oorice station~· •This: off.icer·· ta.. ....... ,1       _, .+-J...-.+- .+-J... .....·:m..... +-J... .... - _-re·._,   .,.:;,..+•·,_ '   _,
                                                                                                                                                                            ·L          +·-•

      Methodist .Emergency and·thi·s· off-icer·made telephone contact.'with the mother· there. and so i-nformed-her. • · · • •                                                             -

            Investigation in progress.
                                          .. , ....               . .• c   I·


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                                                                                                                                             PEORIA_SAVORY 57                       • ?Js)
